    Case 3:14-cr-00002-DHB-BKE Document 365 Filed 06/15/15 Page 1 of 1

                                                                              FILED
                                                                        U.S.OISTRICT
                                                                                   COURT
                                                                           AUsUST DAIV.
                     IN THE T]NITEDSTATESDISTRICTCOURT
                                                                        2015
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                    FORTHE SOUTHERNDISTRICTOF GEORGIA

                                        DUBLIN DIVISION

U{ITED STATESOF AMERICA                      )
                                             )
             VS.                             )               CASENO: CR314-2
                                             )
CHRISTOHERDERRICKDUTY                        )

                                           ORDER

      The defendant,
                  Christopher                       on April 21,2015andis in
                            Denick Duty, wassentenced

custodyof the Bureauof Prisons.

                                      the retumof the $1,500.00cashsecurityposted
                     Duty, hasrequested
      Surety,Nashandea

on thedefendant's       bond.
               $15,000.00

      IT IS HEREBYORDEREDthatthe cashcollateralin the amountof $1,500.00posted

                                 plusall accruedinterestthereon,be returnedto:
           Duty for this defendant,
by Nashandea

       Duty at 318TattnallLakeCt.,Dublin,GA 31021,
Nashandea


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                                                             Georgia.
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                                                   SOUTHERNDISTRICTOF GEORGIA
